       Case 2:13-cr-00053-JAM Document 25 Filed 02/05/14 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
6
7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 13-cr-0053 MCE
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO FEBRUARY 27,
12           v.                                     )   2014, AT 9:00 A.M.
                                                    )
13   OMAR VERA, JOSE MORALES                        )   Date: January 30, 2014
     CASTELLON, JOSE ANAYA,                         )   Time: 9:00 a.m.
14   EDUARDO REYES,                                 )   Judge: Honorable Morrison C. England, Jr.
                                                    )
15                              Defendant.          )
16
17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for January 30, 2014, at 9:00 a.m., to February 27, 2014, at 9:00 a.m.
19             Defense counsel require the continuance to consult with their clients about discovery, and
20   to conduct investigation. Defense counsel also require further time to meet and consult with
21   each other. In addition, the government will propound proposed plea agreements for the defense
22   to consider.
23             Counsel and the defendants agree that the Court should exclude the time from January
24   30, 2014, through February 27, 2014, when it computes the time within which trial must
25   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
26   ///
27   ///
28

      Stipulation to Continue                           -1-                                       13-53 MCE
        Case 2:13-cr-00053-JAM Document 25 Filed 02/05/14 Page 2 of 3


1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: January 28, 2014                        HEATHER E. WILLIAMS
                                                    Federal Defender
5
                                                    /s/ M.Petrik__________
6                                                   MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Mr. Vera
8
9    DATED: January 28, 2014
10
                                                    /s/ M.Petrik for_______
11                                                  KYLE RODGER KNAPP
                                                    Attorney for Mr. Castellon
12
13   DATED: January 28, 2014
14
                                                    /s/ M.Petrik for_______
15                                                  MICHAEL E. HANSEN
                                                    Attorney for Mr. Anaya
16
17   DATED: January 28, 2014
18
                                                    /s/ M.Petrik for_______
19                                                  RONALD JAMES PETERS
                                                    Attorney for Mr. Reyes
20
21
     DATED: January 28, 2014                        BENJAMIN B. WAGNER
22                                                  United States Attorney

23                                                  /s/ M.Petrik for_______
                                                    JASON HITT
24                                                  Assistant U.S. Attorney
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      Stipulation to Continue                         -2-                                           13-53 MCE
       Case 2:13-cr-00053-JAM Document 25 Filed 02/05/14 Page 3 of 3


1                                                   ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8              The Court orders the status conference rescheduled for February 27, 2014, at 9:00 AM.
9    The Court orders the time from the date of the parties stipulation, up to and including February
10   27, 2014, excluded from computation of time within which the trial of this case must commence
11   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12             IT IS SO ORDERED.
13   Dated: January 29, 2014
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      Stipulation to Continue                          -3-                                        13-53 MCE
